       17-01103-mew           Doc 152       Filed 01/23/20 Entered 01/23/20 13:16:45                     Main Document
                                                    L A WPg
                                                         O F1
                                                            F Iof
                                                               C E2S O F


                                                PAUL J. SOLDA
                                                 EMPIRE STATE BUILDING
                                            3 5 0 F I F T H A V E N U E , 6 8 TH F L O O R
                                             NEW YORK, NEW YORK 10118

                                                       (212) 967-3393

ADMITTED IN:                                                                                                                 E-MAIL:
NEW YORK
PENNSYLVANIA
CONNECTICUT                                                                                                  ps@soldalaw.com
WASHINGTON, D.C.




                                                                       J an u ary 2 3 , 2 0 2 0


         Ho n . M i ch ael E . W i l es
         Un i t ed S t at es Ban k ru p t cy C o u rt , S DNY
         On e Bo wl i n g Green
         New Yo rk , New Yo rk 1 0 0 0 4 -1 4 0 8

         RE:       M at t h ew Harri s o n (T ru s t ee) v . R . Ko n fi n o , R o n R u b i n o v / New Li b ert y
                   P awn S h o p , In c. , E t . Al . (Ad v P ro . # 1 7 – 0 1 1 0 3 )
                   [ Ban k ru p t cy cas e # 1 5 -1 1 8 6 2 (A. N. Fri ed a Di am o n d s , In c. )]

         Dear J u d ge W i l es :

                  As yo u m ay recal l , t h e u n d ers i gn ed rep res en t s t h e i n t eres t s o f
         Defen d an t s New Li b ert y P awn S h o p , In c. an d R o n R u b i n o v rel at i v e t o t h e
         ab o v e referen ced m at t er.

                  W e wri t e t o o b j ect t o t h e T ru s t ee’s l et t er (s erv ed o n t h e C o u rt J an u ary
         2 1 , 2 0 2 0 ) - wh i ch s o u gh t t o ad v i s e Hi s Ho n o r t o an NYP D warran t ex ecu t i o n
         o n New Li b ert y. At t o rn ey Fo x b l i t h el y at t em p t s t o s creen t h i s p o l i ce
         u n d ert ak i n g t o s u gges t t h at i t “m ay i m p act t h e p en d i n g Ad v ers ary
         P ro ceed i n g. . . ” an d h av e an affect o n p ri o r co u rt o rd ers (fro m S ep t em b er, 2 0 1 5
         an d M arch , 2 0 1 6 ). T h i s i s an o u t rage - es p eci al l y gi v en t h at t h e ab o v e
         referen ced m at t er h as n o t yet b een d eci d ed b y t h e C o u rt .

                    R egard i n g t h e New Yo rk P o s t art i cl e an d t h e d es cri b ed warran t
         ex ecu t i o n - t h e NYP D d i d , i n fact , ex ecu t e a warran t o n New Li b ert y o n
         J an u ary 8 , 2 0 2 0 . T h e u n d ert ak i n g, h o wev er, h as n o effect o n t h e i s s u es t ri ed
         b efo re t h i s C o u rt l as t Oct o b er, 2 0 1 9 . Here, t h e m at t er i n v o l v ed at l eas t s i x
         d i fferen t p ers o n s o f i n t eres t an d t arget ed at l eas t fo u r d i fferen t p rem i s es - i n
         ad d i t i o n t o New Li b ert y an d i t s p ri n ci p al , R o n R u b i n o v . As t h i s o ffi ce h as
         l earn ed 1 , t h e cen t ral t arget i s a s eco n d h an d b u yi n g b u s i n es s en t i t l ed R o m an o v

                   1
                  The undersigned has some firsthand knowledge to these events
         notwithstanding - as I responded to the warrant execution. I was present
         throughout the search of the New Liberty premises and conferred with head NYPD
         detectives on the case. No arrests were made. There was no confiscation of any
         collateral subject to any pawn loans whatsoever. The police matter involved
         alleged stolen merchandise which primarily included marquis ladies clothing,
PAUL17-01103-mew
     J. SOLDA                 Doc 152        Filed 01/23/20 Entered 01/23/20 13:16:45                        Main Document
ATTORNEY AT LAW                                          Pg 2 of 2
Hon. Michael E. Wiles
January 23, 2020
Page 2


        Go l d Bu yers (o wn ed b y an u n rel at ed i n d i v i d u al ). R o n R u b i n o v n o t ab l y
        o p erat es a p awn b ro k er b u s i n es s an d ret ai l j ewel ry s al e b u s i n es s 2 .
        S i gn i fi can t l y, t h e al l eged ro b b eri es an d fen ci n g o p erat i o n i s cl ai m ed t o h av e
        t ak en p l ace l as t year - 2 0 1 9 . W i t h t h at s ai d , t h e New Yo rk P o s t art i cl e l argel y
        go t t h e s t o ry wro n g. W h i l e M r. R u b i n o v i s al l eged t o b e i n v o l v ed - h i s p awn
        o p erat i o n s t an d s s ep arat e fro m t h i s m u s s . M o s t i m p o rt an t , s ev eral k ey
        (u n rel at ed ) i n d i v i d u al s an d u n rel at ed b u s i n es s es are at t h e cen t er o f t h i s
        i n v es t i gat i o n .

                     In t h e fi n al an al ys i s , h o wev er, o n e t h i n g i s cl ear - At t o rn ey Fo x h as
        s u rrep t i t i o u s l y u s ed t h i s ev en t t o i n fo rm t h e C o u rt k n o wi n g t h e wi t h i n m at t er
        i s s t i l l s u b j u d i ce. Ob v i o u s l y, t h e i n t en t i s t o p rej u d i ce t h e C o u rt .

                 In cl o s i n g, t h i s Offi ce wi l l b e av ai l ab l e fo r an y co n feren ce s h o u l d t h e
        C o u rt n o n et h el es s d eem i t n eces s ary. If t h ere i s an yt h i n g fu rt h er t h e C o u rt
        m ay req u i re, p l eas e d o n o t h es i t at e t o ad v i s e.

                 T h an k yo u .
                                                                         Yo u rs t ru l y,


                                                                         P au l J . S o l d a

        cc:      Leo Fo x , E s q .
                 P et er J an o v s k y, E s q .
                 J o el S h afferm an , E s q .




        purses, cosmetics, etc.). The central target was a secondhand dealer licensed
        business entitled “Romanov Gold Buyers” (locaed at 71 W. 47th St., NY, NY) - a
        business neither owned nor operated by Ron Rubinov. While some merchandise
        was, nonetheless, being seized at the New Liberty premises - it was said
        retail clothing/handbag merchandise - apparently stored in the area there.
        While the New Liberty safe (amongst other safes from other businesses) was
        searched - only cash proceeds were seized.

                 2
                As we all became aware, a pawnbroker does not purchase jewelry or
        other valuable merchandise - it makes loans on same. Here, various recidivists
        have been alleged to have robbed various department stores and in turn sold
        their stolen goods to the Romanov business.
